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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

    In re                                            §        Chapter 11
                                                     §
    SPHERATURE INVESTMENTS LLC,                      §        Case No. 20-42492
    et al., 1                                        §
                                                     §        Jointly Administered
             Debtors.                                §

    SPHERATURE INVESTMENTS, LLC, §                            Adversary No. 21-04059
    et al. d/b/a WORLDVENTURES   §
    HOLDINGS, LLC,               §
                                 §
             Plaintiffs          §
                                 §
    vs.                          §
                                 §
    SEACRET DIRECT LLC,          §
                                 §
             Defendant.          §

                                          NOTICE OF HEARING

            PLEASE TAKE NOTICE that at the Honorable Brenda T. Rhoades, Chief Bankruptcy

Judge for the United States Bankruptcy Court for the Eastern District of Texas has set Seacret

Direct LLC's Expedited Motion for Continuance [Docket No. 12] (the "Continuance Motion") for

hearing on May 3, 2021, at 9:30 A.M. (CST). Parties are instructed to dial 1-888-675-2535, use

Access No. 4225607, and Security No. 2918, as well as directed to review the instructions

contained       in   the     link   for    all    telephonic      hearings     before     Judge      Rhoades:

http://www.txeb.uscourts.gov/content/judgerhoades. The information can be found by accessing




1
  The "Debtors" and the "Plaintiffs" in the above-captioned cases are: Spherature Investments LLC ("Spherature")
EIN#5471; Rovia, LLC ("Rovia") EIN#7705; WorldVentures Marketing Holdings, LLC ("WV Marketing Holdings")
EIN#3846; WorldVentures Marketplace, LLC ("WV Marketplace") EIN#6264; WorldVentures Marketing, LLC
("WV Marketing") EIN#3255; WorldVentures Services, LLC ("WV Services") EIN#2220.

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the Court’s webpage at www.txeb.uscourts.gov and choosing "Judge’s Info", then choosing "Judge

Rhoades", and then choosing "Telephonic Hearing" Tab.

       A copy of the Order Granting Seacret Direct LLC's Motion for Expedited Hearing on

Expedited Motion for Continuance [Docket No. 15] is attached hereto as Exhibit "A" and pursuant

to such order the deadline to file responses to the Continuance Motion is April 30, 2021.

DATED: April 19, 2021.



                                                    Respectfully submitted,

                                                    By:      /s/ Annmarie Chiarello
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                                                          ATTORNEYS FOR
                                                          SEACRET DIRECT LLC




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                                  CERTIFICATE OF SERVICE


        I hereby certify that on April 22, 2021, notice of this document was electronically mailed
to the parties registered or otherwise entitled to receive electronic notices in this case pursuant to
the Electronic Filing Procedures in this District. I hereby further certify that on April 22, 2021, this
document will be mailed via First-Class U.S. Mail and Certified Mail Return Receipt Requested
to Debtors at the address listed below.



                                                       /s/ Annmarie Chiarello
                                                       One of counsel



Steven C. Lockhart
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1601 Elm Street, Suite 2900
Dallas, TX 75201

Spherature Investments LLC
WorldVentures Marketing Holdings, LLC
Rovia, LLC
WorldVentures Marketplace, LLC
WorldVentures Marketing, LLC
WorldVentures Services, LLC
Foley & Lardner LLP
2021 McKinney Avenue, Suite 1600
Dallas, TX 75201

Spherature Investments LLC
WorldVentures Marketing Holdings, LLC
Rovia, LLC
WorldVentures Marketplace, LLC
WorldVentures Marketing, LLC
WorldVentures Services, LLC
5100 Tennyson Parkway
Plano, TX 75024




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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


    In re                                             §          Chapter 11
                                                      §
    SPHERATURE INVESTMENTS LLC,                       §          Case No. 20-42492
    et al., 1                                         §
                                                      §          Jointly Administered
             Debtors.                                 §

    SPHERATURE INVESTMENTS, LLC,                      §          Adversary No. 21-04059
    et al. d/b/a WORLDVENTURES                        §
    HOLDINGS, LLC,                                    §
                                                      §
             Plaintiffs                               §
                                                      §
    vs.                                               §
                                                      §
    SEACRET DIRECT LLC,                               §
                                                      §
             Defendant.                               §

          ORDER GRANTING SEACRET DIRECT LLC'S MOTION FOR EXPEDITED
               HEARING ON EXPEDITED MOTION FOR CONTINUANCE

            On this date, the Court considered the request for expedited hearing on the Expedited

Motion for Continuance [Docket No. 12] (the "Continuance Motion") filed on April 21, 2021 by

Seacret Direct LLC ("Seacret") in connection with the above-captioned adversary proceeding. The

Court finds that the request complies with LBR 9007(c) and demonstrates that sufficient cause

exists for shortening the normal response time and scheduling an expedited hearing on the Motion.

Accordingly,




1
 The "Debtors" and the "Plaintiffs" in the above-captioned cases are: Spherature Investments LLC ("Spherature"),
EIN #5471; Rovia, LLC ("Rovia"), EIN #7705; WorldVentures Marketing Holdings, LLC ("WV Marketing
Holdings"), EIN #3846; WorldVentures Marketplace, LLC ("WV Marketplace"), EIN #6264; WorldVentures
Marketing, LLC ("WV Marketing"), EIN #3255; and WorldVentures Services, LLC ("WV Services"), EIN #2220.

ORDER GRANTING SEACRET DIRECT LLC'S MOTION FOR EXPEDITED HEARING ON
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       IT IS ORDERED that the request for expedited hearing is GRANTED and that a hearing

on the Continuance Motion shall be held telephonically on May 3, 2021 at 9:30a.m. (CST),

before the Honorable Brenda T. Rhoades, Chief Bankruptcy Judge for the United States

Bankruptcy Court for the Eastern District of Texas. Parties are instructed to dial

1-888-675-2535, use Access No. 4225607 and Security No. 2918.

       IT IS, THEREFORE, ORDERED that the responses to the Continuance Motion shall be

filed no later than April 30, 2021.

       IT IS FURTHER ORDERED that Seacret or its counsel shall give notice of this

expedited hearing by forwarding a copy of this Order by the most expedient means available,

including electronic or telephonic transmission, or otherwise by First Class United States Mail,

to the Plaintiffs in the above-referenced adversary case.




                                                      Signed on 4/22/2021

                                                                         YM
                                           HONORABLE BRENDA T. RHOADES,
                                           CHIEF UNITED STATES BANKRUPTCY JUDGE




Submitted by:

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ATTORNEYS FOR
SEACRET DIRECT, LLC




ORDER GRANTING SEACRET DIRECT LLC'S MOTION FOR EXPEDITED HEARING ON
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